Case 4:08-cr-00029-MW-CAS         Document 318     Filed 02/19/09   Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION


UNITED STATES OF AMERICA

vs.                                                   CASE NO.: 4:08cr29-SPM

JAMES FRANKLIN O’QUINN,

           Defendant.
____________________________/

                       ACCEPTANCE OF GUILTY PLEA

      Pursuant to the Report and Recommendation of the United States

Magistrate Judge, to which there have been no timely objections, and subject to

the Court’s consideration of any Plea Agreement pursuant to Fed. R. Crim. P.

11(e)(2), the plea of guilty of the defendant, JAMES FRANKLIN O’QUINN , to

Count One of the indictment is hereby ACCEPTED. All parties shall appear

before this Court for sentencing as directed.

      DONE AND ORDERED this 19th day of February, 2009.



                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
